    Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 1 of 6 PageID #:215




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

ALEXANDER CARTER,                                 )
                                                  )   Case No. 1:20-cv-01402
                       Plaintiff,                 )
                                                  )
       v.                                         )   Hon. Robert W. Gettleman
                                                  )
SALVADOR MARTINEZ, P.A., AND                      )
CONCETTA MENNELLA, M.D.,                          )
                                                  )
                                                  )
                       Defendants.                )


                     PLAINTIFF’S SECOND AMENDED COMPLAINT

       Plaintiff, Alexander Carter, by and through his attorney, complains of Defendants,

Salvador Martinez, P.A., and Concetta Mennella, M.D., in their individual capacities and their

official capacities as employees of Cook County, Illinois, and states as follows:

                                        INTRODUCTION

       1.      Plaintiff, previously a pre-trial detainee at the Cook County Jail, brings this action

pursuant to 42 U.S.C. § 1983 to seek redress for denial of healthcare services by Defendants.

       2.      Defendants, Martinez and Mennella, acting as agents of Cook County, acted

objectively unreasonably and in violation of Plaintiff’s rights under 42 U.S.C. § 1983 and the

Eighth and Fourteenth Amendments of the United States Constitution when they showed

deliberate indifference to Plaintiff’s requests for treatment of pain and lumbar fracture.

       3.      As a result of Defendants’ failure to provide Plaintiff with access to medical

treatment, as requested by Plaintiff, Plaintiff suffered and continues to suffer from chronic pain.

                                    JURISDICTION AND VENUE

       4.      This action is brought pursuant to 42 U.S.C. § 1983. Jurisdiction is founded upon


                                                 1
    Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 2 of 6 PageID #:216




28 U.S.C. §§ 1331 and 1343, and the aforementioned constitutional and statutory provisions.

          5.   The United States District Court for the Northern District of Illinois, Eastern

Division is the proper venue for this action, pursuant to 28 U.S.C. § 1391(b)(2), because all events

or omissions giving rise to the claim occurred in this district.

                                             PARTIES

          6.   Plaintiff is a citizen of the Unites States, who was a pre-trial detainee in the custody

of Cook County Department of Corrections and housed at Cook County Jail at 801 S. Sacramento

Avenue, Chicago, Illinois 60608. Plaintiff is currently incarcerated at the Pickneyville Correctional

Center.

          7.   Cook County, through Cermak Health Services of Cook County, runs the health

service for detainees at Cook County Jail and has overall responsibility for the provision of health

services at the Cook County Jail. Cook County is a duly incorporated governmental entity in

Illinois and is liable for any judgments related to its agents and employees arising in the course of

their employment pursuant to 745 ILCS 10/2-302.

          8.   Defendant Salvador Martinez, P.A. is a Physician Assistant with the Department of

Correctional Health at Cermak Health Services, who was working at the Cermak Health Services

during relevant times. Martinez is an employee of Cook County. At all times relevant to the events

at issue in this case, Defendant Martinez was acting under color of law and within the scope of

employment with Cook County. Defendant Martinez is named in his individual and official

capacities.

          9.   Defendant Concetta Mennella, M.D. is the Chief Deputy with the Department of

Correctional Health at Cermak Health Services, who was working at the Cermak Health Services

during relevant times. Mennella is an employee of Cook County. At all times relevant to the events



                                                  2
    Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 3 of 6 PageID #:217




at issue in this case, Defendant Mennella was acting under color of law and within the scope of

Mennella’s employment. Defendant Mennella is named in Mennella’s individual and official

capacities.

       10.     At all times relevant hereto, the individual and official defendants were acting under

the color of the statutes, ordinances, regulations, customs, and usages of the Cook County, and

within the scope of their employment.

                                             FACTS

       11.     Plaintiff was a pre-trial detainee at Cook County Jail from 2017 until approximately

April 2021.

       12.     On or about September 7, 2018, Plaintiff underwent an open right inguinal hernia

repair with mesh for his core lipoma at John H. Stroger, Jr. Hospital of Cook County Health.

Plaintiff was discharged from the facility the same day.

       13.     After the hernia surgery, Plaintiff suffered a fall, injuring his back and reinjuring

his repaired hernia.

       14.     After the fall, Plaintiff began to experience and complain of sharp pain in his back

and pain in areas associated with the re-injured hernia repair. He began frequently and repeatedly

requesting medical attention on numerous occasions thereafter.

       15.     On December 6, 2018, X-rays were ordered by Defendant Martinez following

Plaintiff’s complaints of back pain. X-rays found an abnormal appearing right transverse process

of L3 vertebra, which the radiology report stated was likely sequela of prior trauma. It noted to

“[c]orrelate with point tenderness.” On December 11, 2018, a CT of lumbar spine without contrast

was taken. To Plaintiff’s knowledge, he never suffered any back fracture in his life prior to the

2018 fall. However, the report for the lumbar CT taken after the fall purports to identify an “old”



                                                 3
    Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 4 of 6 PageID #:218




transverse process fracture.

        16.    Thereafter, Defendants Martinez and Mennella failed to adequately address

Plaintiff’s lumbar fracture and his associated chronic pain, refused to refer Plaintiff to a specialist

as he requested, and failed to adequately treat Plaintiff’s ongoing back pain and pain associated

with the hernia, despite Plaintiff’s repeated requests.

        17.    Defendants had knowledge of Plaintiff’s ongoing pain and irregular radiological

findings regarding Plaintiff’s spine, and Plaintiff requested from each defendant that he be referred

to a specialist so that his injury and pain could be properly addressed.

        18.    Defendants unreasonably refused Plaintiff’s requests to see a specialist and failed

to adequately address his injuries and pain with deliberate indifference.

        19.    On information and belief, Plaintiff submitted numerous complaints to Cook

County Department of Corrections due to the ongoing failure to treat his back injury and chronic

pain. Cook County refused plaintiff additional treatment of his chronic pain, and Carter timely

filed appeals, which were denied.

        20.    Plaintiff was not referred to a specialist or provided other sufficient treatment for

his ongoing pain and spinal fracture while he was detained at the Cook County Jail.

                                             COUNT I
                              42 U.S.C. § 1983 – Denial of Health Care
        21.    Plaintiff restates and re-alleges paragraphs 1 through 20 as though fully restated

here.

        22.    As described more fully above, Plaintiff suffered an injury to his spine and suffered

re-injury to the affected area from his hernia surgery, causing him to suffer from chronic pain.

        23.    Plaintiff’s back injury and chronic pain was a serious medical need, which required

evaluation by a specialist.


                                                  4
     Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 5 of 6 PageID #:219




        24.     Plaintiff asked for pain treatment and treatment for his back, including but not

limited to an evaluation by a spine specialist, or an evaluation at a hospital, and Defendants ignored

or refused Plaintiff’s treatment requests and needs with deliberate indifference.

        25.     Defendants were aware of Plaintiff’s suffering, but deliberately, willfully, and

wantonly ignored the obvious serious medical needs of Plaintiff and the substantial risk of serious

permanent injury and death, and failed to take appropriate steps to protect him, constituted

deliberate indifference to Plaintiff’s serious medical needs, thus violating the Fourteenth and

Eighth Amendments to the United States Constitution.

        26.     Defendants’ refusal to treat Plaintiff’s serious medical need was continuous.

        27.     As a direct and proximate result of Defendants’ Constitutional violations, Plaintiff

was caused to suffer great pain and mental anguish, and continues to suffer from such pain and

anguish.

        WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment in his favor

and against Defendants, award compensatory damages against Defendants in an amount to be

determined at trial, award Plaintiff his reasonable costs and attorneys’ fees, and for any other relief

this Court deems just and equitable.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a jury trial on all

issues triable to a jury.



Dated: June 18, 2021                                   Respectfully submitted,


                                                       By: /s/ Scott Stirling




                                                  5
    Case: 1:20-cv-01402 Document #: 37 Filed: 06/18/21 Page 6 of 6 PageID #:220




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                                        6
